Case 1:17-cv-00388-RDB Document 66-1 Filed 05/02/18 Page 1 of 6




            EXHIBIT A
           Case 1:17-cv-00388-RDB Document 66-1 Filed 05/02/18 Page 2 of 6


VENABLE                   LLP
                                                            750 E. PRATT STREET SUITE 900 BALTIMORE, MD 21202
                                                            T 410.244.7400 F 410.244.7742 www.Venable.com




                                                                     G. Stewart Webb, Jr.
                                                                     T 410.244.75fi5
                                                                     F 410.244.7742
                                                                     GS Webb@Venable,com

                                           April 17, 2018


VIA CERTIFIED MAIL RESTRICTED DELIVERY

Heather D. Crosby
Matheys Lane Capital Management L.P.
Qne West Exchange Street, 4th Floor
Providence, Rhode Island 02903

Re:       In re Under Armour Securities LitiQatioiz, Civ. A. No. RDB-17-388(D. Md.)

Dear Ms. Crosby:

       I represent Defendant Under Armour, Inc. in the above-captioned civil action currently
pending in the United States District Court for the District of Maryland. By way of this letter
and pursuant to Federal Rule of Civil Procedure 4 and 25 and Maryland Rule of Civil Procedure
2-121(a), I am serving you, in your capacity as the Personal Representative of the Estate of
Defendant Anthony W. Deering, with the attached Statement Noting Death of a Party, which was
originally filed with the Court on March 21, 2018.

          Please let me know if you have any questions and thank you for your attention to this
matter.



                                                      Best regards,




                                                       G. Stewart      ebb, Jr.

GSW,Jr./mjw

Enclosures



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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


In re UNDER ARMOUR SECURITIES                      Civil Action No. RDB-17-388
LITIGATION


This Document Relates To;

        ALL ACTIONS.



                       STATEMENT NOTING DEATH OF A PARTY

        In accordance with Fed. R, Civ. P. 25(a), Defendant Under Armour, Inc,, which is a party

to this action, through its undersigned counsel, hereby notes the death during the pendency of

this action of Defendant Anthony W. Deering.


Dated; March 21, 2018                        ;~           ~--~1            _ _,,_.___ _
       Baltimore, Maryland                          .~'        ~      ~~

                                             G. Stewart Webb;.Ir., r ~ ~ No. 00828)
                                             VENABLE LLP
                                             750 E. Pratt Street, Suite 900
                                             Baltimore, MD 21202
                                             Telephone; 410/244-7565
                                             410/244-7742(fax)
                                             gswebb@venable,com

                                             Counselfor Defendant UndeN Armozrr, hoc.




1 5995396
      Case 1:17-cv-00388-RDB Document 66-1 Filed 05/02/18 Page 4 of 6
          Case 1:17-cv-00388-RDB Document 59 Filed 03/21/18 Page 2 of 2




                              CERTIFICATE OF SERVICE


              I HEREBY CERTIFY that on this 21St day of March 2018 a copy of the foregoing

Statement Noting Death of a Party was served on counsel of record via the Court's CM/ECF

System.




                                          G, Stewart Webb, Jr (I~ar:-t`J~r.,`.' 00828)
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  or on the front if space permits.                                                                                            ~6
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Heather D. Crosby                                                               If YES, enter delivery address below:       ~ No
Matheys Lane Capital
 Management L.P.
One West Exchange Street, 4th fl
Providence, Rhode Island 02903

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